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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK

                                                     )
BANCO SAN JUAN INTERNACIONAL, INC.,                  )
                                                     )
               Plaintiff,                            )
                                                     )      Case No. 1:23-cv-6414
               v.                                    )
                                                     )
FEDERAL RESERVE BANK OF NEW YORK                     )
and BOARD OF GOVERNORS OF                            )
THE FEDERAL RESERVE SYSTEM,                          )
                                                     )
                                                     )
               Defendants.                           )
                                                     )

 DEFENDANT BOARD OF GOVERNORS OF THE FEDERAL RESERVE SYSTEM’S
      NOTICE OF MOTION TO DISMISS THE AMENDED COMPLAINT

       Pursuant to Federal Rules of Civil Procedure 12(b)(1) and 12(b)(6), Defendant Board of

Governors of the Federal Reserve System (“Board”) respectfully submits this motion to dismiss

the amended complaint filed by Plaintiff Banco San Juan Internacional, Inc. By this motion, the

Board respectfully requests that the Court dismiss all claims in the amended complaint against

the Board for lack of standing. Alternatively, the Board respectfully requests dismissal of Count I

(Administrative Procedure Act), Count II (Mandamus Act), and Count III (Declaratory Judgment

Act), pursuant to Rule 12(b)(1), for lack of subject matter jurisdiction; and dismissal of Count IV

(Fifth Amendment Due Process Clause), pursuant to Rule 12(b)(6), for failure to state a claim

upon which relief can be granted.

       Accompanying this motion are a memorandum of law and a declaration attaching Exhibit

A.
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Dated: March 22, 2024

                               Respectfully submitted,

                                /s/ Joshua P. Chadwick
                               Mark Van Der Weide, General Counsel
                               Richard M. Ashton, Deputy General Counsel
                               Joshua P. Chadwick (JC9369), Senior Special Counsel
                               Yvonne F. Mizusawa (YM5081), Senior Counsel
                               Nicholas Jabbour (pro hac vice), Senior Counsel
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                               Counsel for Defendant Board of Governors of the
                               Federal Reserve System




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                                CERTIFICATE OF SERVICE

       I hereby certify that on March 22, 2024, I electronically filed the foregoing using the

court’s CM/ECF system, which will send notification of such filing to all parties of record.


                                             By:      /s/ Joshua P. Chadwick
                                                     Joshua P. Chadwick

                                                     Counsel for Defendant Board of Governors
                                                     of the Federal Reserve System




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